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                            EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division


 UNITED STATES OF AMERICA


        V.                                           No. l:20-cr-239


 ALEXANDA AMON KOTEY,

        Defendant.



                                     PLEA AGREEMENT


       Raj Parekh, Acting United States Attorney for the Eastern District of Virginia;

undersigned counsel for the United States; the defendant, Alexanda Amon Kotey; and the

defendant's counsel have entered into an agreement pursuant to Rule 11 of the Federal Rules of

Criminal Procedure. The terms of this Plea Agreement are as follows:

        1.    Offenses and Maximum Penalties


       The defendant agrees to plead guilty to all ofthe offenses charged in the pending eight-

count indictment, which charges the defendant with the following offenses:

              Count One: Conspiracy to Commit Hostage Taking Resulting in Death in

              violation of 18 U.S.C. § 1203.

              Count Two: Hostage Taking Resulting in the Death of James Wright Foley in

              violation of 18 U.S.C. §§1203 and 2.

              Count Three: Hostage Taking Resulting in the Death of Kayla Jean Mueller in

              violation of 18 U.S.C. §§1203 and 2.

              Count Four: Hostage Taking Resulting in the Death of Steven Joel Sotloff in

              violation of 18 U.S.C. §§1203 and 2.
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